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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

U.S. Bank NA

v.                                           Case Number: 4:22−cv−01120

Israel F. Cadena, et al.




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
by video
United States District Court
515 Rusk Ave
Houston, TX
DATE: 7/29/2022

TIME: 10:40 AM
TYPE OF PROCEEDING: Initial Conference


Date: June 7, 2022
                                                        Nathan Ochsner, Clerk
